       CASE 0:04-cr-00268-RHK-RLE                Doc. 119       Filed 12/12/05        Page 1 of 2



                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF MINNESOTA




United States of America,                          Criminal No. 04-268 (1)-(5) (RHK/RLE)

                Plaintiff,                                        ORDER

vs.

Lamont Vernon Peterson (1),
Owen Kent Peterson (2),
Alan Victor Peterson (3),
Corwin Douglas Peterson (4),
Rebecca Jean Van Vickle (5),

                Defendants.


        Before the Court is Defendants’ Motion to Quash Subpoena Duces Tecum to Secura

Insurance Company on the grounds, inter alia, that it is unreasonable, a violation of a private

party settlement agreement, and a “fishing expedition.” Although the undersigned is

inclined to agree with much of Defendants’ position, it has concluded that an in camera

review of the subject documents would be appropriate. Accordingly, and upon all the files,

records and proceedings herein, IT IS ORDERED the Motion to Quash Subpoena Duces

Tecum (Doc. No. 103) is GRANTED IN PART AS FOLLOWS:

        1. The Subpoena in the present form is QUASHED;

        2. The United States may serve a new Subpoena Duces Tecum upon Secura

Insurance Company requesting the documents set forth on page 7 of the Government’s

Response to this Motion; and
       CASE 0:04-cr-00268-RHK-RLE              Doc. 119      Filed 12/12/05      Page 2 of 2



       3. The new Subpoena shall direct the documents to be delivered under seal to the

Court (and to no one else)1 on or before January 9, 2006 for in camera review.

Dated: December 12, 2005

                                               s/Richard H. Kyle
                                               RICHARD H. KYLE
                                               United States District Judge




       1 The subpoena shall not contain the language of the prior subpoena: “Materials may
be provided to Special Agent Carlson prior to trial.”


                                                  2
